                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 TENNESSEE RIVERKEEPER, INC.,                  )
                                               )
         PLAINTIFF,                            )
                                               )
 v.                                            )   Case No. 3:23-cv-01369
                                               )
 CITY OF LEBANON, TENNESSEE,                   )   JURY TRIAL DEMANDED
                                               )
         Defendant,                            )
                                               )



                   JOINT MOTION TO STAY PENDING MEDIATION


        Defendant, City of Lebanon, Tennessee, and Plaintiff, Tennessee Riverkeeper, Inc.

(collectively, the “Parties”), jointly move this Court for an order staying this action for 90 days

pending mediation of Plaintiff’s claims. As grounds for this motion, the Parties state as follows:

        1.     The Parties are engaged in settlement discussions and have agreed to mediate the

case.

        2.     The Parties are presently working to schedule mediation and are optimistic that

they will be able to conduct a mediation within the next 90 days.

        3.     Federal district courts have “broad discretion to stay proceedings as an incident to

[their] power to control [their] own docket[s],” Clinton v. Jones, 520 U.S. 681, 708 (1997), and

routinely stay actions pending mediation. See, e.g., Yoe v. Crescent Sock Co., No. 1:15-CV-3-

SKL, 2018 WL 10162238, at *14 (E.D. Tenn. Sept. 7, 2018).

        4.     A stay is appropriate here because it will promote judicial economy and efficiency

by allowing the Parties to devote time and resources to potentially resolving this action through




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mediation. And a successful mediation would, in turn, save the Parties and the Court the further

time and expense of litigating this matter.

        5.      No party will be prejudiced by a stay; the Parties have jointly agreed to this relief,

and this case is in its early stages.

        6.      The Parties will file a notice within five days of the conclusion of mediation or the

expiration of the 90-day stay, whichever is sooner, to notify this Court of the status of their efforts

to resolve the case. If mediation was unsuccessful, the Parties’ notice will include a proposed

revised case management order.

        7.      Accordingly, to conserve judicial resources and to focus the Parties’ efforts on a

resolution of this litigation, the Parties jointly pray for a stay of proceedings for 90 days and for

such other relief to which they may be entitled.




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                               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2025, a true and correct copy of the foregoing was

served via U.S. mail, first-class, postage prepaid, and electronic mail to the below:

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